    Case: 1:15-cv-01046-SO Doc #: 610 Filed: 05/08/25 1 of 2. PageID #: 14100




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



 UNITED STATES OF AMERICA,                        )   CASE NO.: 1:15CV1046
                                                  )
                Plaintiff,                        )   JUDGE SOLOMON OLIVER, JR.
                                                  )
        v.                                        )
                                                  )
 CITY OF CLEVELAND,                               )   NOTICE OF WITHDRAWAL OF
                                                  )   COUNSEL
                Defendant.                        )
                                                  )




       Notice is hereby given that Acrivi Coromelas, J. Jackson Froliklong, and Melody

Joy Fields withdraw as co-counsel of record for Plaintiff United States of America.



Respectfully submitted,

 FOR THE UNITED STATES

 HARMEET DHILLON                                 Carol M. Skutnik
 Assistant Attorney General                      Acting United States Attorney
 Civil Rights Division                           Northern District of Ohio

 ANDREW M. DARLINGTON                            Patricia M. Fitzgerald
 Senior Counsel                                  Chief, Civil Division
 Civil Rights Division
                                                 Sara E. DeCaro (OH: 0072485)
 REGAN RUSH                                      J. Jackson Froliklong
   Case: 1:15-cv-01046-SO Doc #: 610 Filed: 05/08/25 2 of 2. PageID #: 14101




Chief                                          Assistant U.S. Attorneys
Special Litigation Section                     United States Court House
                                               801 West Superior Avenue, Suite 400
Acrivi Coromelas                               Cleveland, OH 44113
Deputy Chief                                   (216) 622-3779 (Fitzgerald)
Special Litigation Section                     (216) 622-3670 (DeCaro)
                                               (216) 622-3818 (Froliklong)
/s/ Melody Joy Fields                          (216) 522-2404 (FAX)
Melody Joy Fields (CO: 55866)                  Patricia.Fitzgerald2@usdoj.gov
Suraj Kumar                                    Sara.DeCaro@usdoj.gov
Trial Attorney                                 Joseph.Froliklong@usdoj.gov
United States Department of Justice
Civil Rights Division
Special Litigation Section
950 Pennsylvania Avenue, NW
Washington, DC 20530
Tel: (202) 353-1091; Fax: (202) 514-4883
Email: Acrivi.Coromelas2@usdoj.gov
Email: Melody.Fields@usdoj.gov
Email: Suraj.Kumar@usdoj.gov




                                           2
